
*766OPINION.
Siepkin:
We are satisfied that, regardless of the statements of the certificates of inventory attached to the 1920 return, the inventory of canned peas as of that date was taken at cost rather than cost or market, whichever was lower. We are also satisfied that such action was taken by the general manager of the petitioner without authority from the officers or directors of the petitioner. We have found the value of such goods as of December 31, 1920, to be $98,-638.88, which is supported by ample evidence of qualified witnesses.
Under article 1582 of Regulations 45, as amended by Treasury Decision 3108, the petitioner could adopt, regardless of its past practice, the basis of “ cost or market whichever is lower ” for its inventory as at December 31, 1920. We are satisfied that it intended to do so, and that its tax liability should be computed upon such basis.

Judgment will be entered under Rule 50.

